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IN THE UNITED sTATEs DIsTRICT cOURT “ WHDUKW- ~~H~HJ$
FOR THE wEsTERN DISTRICT oF TENNESSEE n 0
wEsTERN DIvIsION USJUH-l f@€%=¢l
L;HARNET
DARRYL wILLIAMs, .:QYLPME

Plaintiff,
v. No. 04-2976 Ml/P
CITY OF MEMPHIS, et al.,

Defendants.

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“AMENDED”
ORDER SE'I'TING TR_IAL AND PRETRIAL DATES

 

Pursuant to Local Rule 72.1(£), a Rule 16(b) Scheduling Order
Was entered on April 25, 2005, by United States Magistrate Judge Tu
M. Pham. In accordance With the deadlines established in that
order, trial and pretrial dates are set as follows before the

District Court:

l. The jury trial in this matter, which is anticipated to
last two to three (2-3) days, is set to begin Mondag[

April 3, 2006 at 9:30 a.m. in courtroom no. 4.

 

2. A pretrial conference is set for Mondav, March 27. 2006
at 9:00 a.m.

3. The joint pretrial order and proposed jury instructions
and voir dire questions are due by no later than 4:30

p.m. on March 20 2006 (not May 20r 2005).

 

Th%s document entered on the docket heet)';: c mcpllance
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Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this / day Of JU.n€, 2005.

sip m QMK

JON PHIPPS MCCALLA
UN TED sTATEs DISTR:CT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02976 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

